                                  CASE 0:13-cr-00235-JRT-LIB Doc. 17 Filed 10/04/13 Page 1 of 1

                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                  )           COURT MINUTES - CRIMINAL
                                                           )                   BEFORE: Leo I. Brisbois
   vs.                                                     )                    U.S. Magistrate Judge
                                                           )
Michael James Deegan,                                      )    Case No:               Crim. No. 13-235 (JRT/LIB)
                                                           )    Date:                  October 4, 2013
                                     Defendant.            )    Court Reporter:        Digital Recording
                                                           )    Courthouse:            Duluth
                                                           )    Courtroom:             3
                                                                Time Commenced:        1:05 p.m.
                                                                Time Concluded:        1:29 p.m.
                                                                Sealed Hearing Time:   0
                                                                Time in Court:         0 Hours & 24 Minutes
True Name if different from charging instrument:
9 Parties ordered to file stipulation or proposed order for name change
9 Clerk of Court is directed to change the name to:

                 9 PRELIMINARY HRG ONLY                                X DETENTION HRG ONLY
                 9 PRELIMINARY/DETENTION HRG
                    Time in Court Prelim/Det:

APPEARANCES: Plaintiff:                           Katharine T. Buzicky, Assistant U.S. Attorney
                                     Defendant:   Andrew H. Mohring. Assistant Federal Defender
                                                         X FPD                 9 CJA          9 Retained   9 Appointed

On         X Indictment 9 Information 9 Complaint

X Defendant Ordered Detained - Government to submit proposed order

   9 Probable cause found. Deft bound over to District Court of Minnesota

9 Government moves to unseal case. 9 Motion Granted                    9 Motion Denied.
Additional Information:

                                                                                                     s/Victoria L. Miller
                                                                                            Signature of Judicial Assistant




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